                                                                                Case 3:14-cr-00175-WHA Document 959 Filed 01/04/19 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   UNITED STATES OF AMERICA,
                                                                         10                                                                No. CR 14-00175 WHA
                                                                                             Plaintiff,
                                                                         11
United States District Court




                                                                                v.                                                         REQUEST FOR FURTHER
                                                                                                                                           INFORMATION RE WIND
                               For the Northern District of California




                                                                         12   PACIFIC GAS AND ELECTRIC                                     CONDITIONS AND EQUIPMENT
                                                                         13   COMPANY,

                                                                         14                  Defendant.
                                                                                                                           /
                                                                         15
                                                                         16          Also by JANUARY 10 AT NOON, defendant Pacific Gas & Electric Company shall

                                                                         17   submit, with respect to each of the eighteen October 2017 Northern California wildfires that the

                                                                         18   California Department of Forestry and Fire Protection has attributed to PG&E’s facilities, a

                                                                         19   description of (a) the wind conditions in the vicinity of the fire’s origin at the time the fire

                                                                         20   began, and (b) the equipment and type of power poles involved and the minimum spacing

                                                                         21   between the lines.

                                                                         22
                                                                         23          IT IS SO ORDERED.

                                                                         24
                                                                         25   Dated: January 4, 2019.
                                                                                                                                         WILLIAM ALSUP
                                                                         26                                                              UNITED STATES DISTRICT JUDGE

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